Case 1:09-cv-00361-JFB-SRF Document 193 Filed 06/14/18 Page 1 of 4 PageID #: 4249



                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE


  SECURITIES AND EXCHANGE                    )
  COMMISSION,                                )
                                             )
                Plaintiff,                   )
                                             )
         v.                                  )      Civ. No. 09-361-JFB
                                             )
  JOSEPH MANGIAPANE JR.,                     )
                                             )
                Defendant.                   )

                 FINAL JUDGMENT AS TO JOSEPH MANGIAPANE, JR.

         At Wilmington this 14th day of June, 2018:




         WHEREAS, on June 14, 2018, Plaintiff, Securities and Exchange Commission

  (“SEC” or the “Commission”) and Defendant, Joseph Mangiapane, Jr. (“Mr.

  Mangiapane”) entered the Consent of Mr. Mangiapane (D.I. 192-1), and




         WHEREAS, Mr. Mangiapane consents to entry of Final Judgment (id. at ¶ 2; see

  also D.I. 192-2),



         IT IS ORDERED that:

                1. Mr. Mangiapane is permanently restrained and enjoined from violating

         Section 17(a)(3) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §

         77q(a)(3), in the offer or sale of any security by the use of any means or

         instruments of transportation or communication in interstate commerce or by use

         of the mails, directly or indirectly: to engage in any transaction, practice, or
Case 1:09-cv-00361-JFB-SRF Document 193 Filed 06/14/18 Page 2 of 4 PageID #: 4250




       course of business which operates or would operate as a fraud or deceit upon

       the purchaser;

              2. Mr. Mangiapane is permanently restrained and enjoined from violating

       Section 5 of the Securities Act, 15 U.S.C. § 77e, by, directly or indirectly, in the

       absence of any applicable exemption:

                 a. Unless a registration statement is in effect as to a security, making

                     use of any means or instruments of transportation or

                     communication in interstate commerce or of the mails to sell such

                     security through the use or medium of any prospectus or otherwise;

                 b. Unless a registration statement is in effect as to a security, carrying

                     or causing to be carried through the mails or in interstate

                     commerce, by any means or instruments of transportation, any

                     such security for the purpose of sale or for delivery after sale; or

                 c. Making use of any means or instruments of transportation or

                     communication in interstate commerce or of the mails to offer to sell

                     or offer to buy through the use or medium of any prospectus or

                     otherwise any security, unless a registration statement has been
                     filed with the Commission as to such security, or while the

                     registration statement is the subject of a refusal order or stop order

                     or (prior to the effective date of the registration statement) any

                     public proceeding or examination under Section 8 of the Securities

                     Act, 15 U.S.C. § 77h.

              3. Mr. Mangiapane is liable for disgorgement of $26,000, representing

       profits gained as a result of the conduct alleged in the Complaint and a civil
       penalty in the amount of $26,000 pursuant to Section 20(d) of the Securities Act,



                                              2
Case 1:09-cv-00361-JFB-SRF Document 193 Filed 06/14/18 Page 3 of 4 PageID #: 4251




       15 U.S.C. § 77t(d). Defendant shall satisfy this obligation by paying $52,000 to

       the Securities and Exchange Commission pursuant to the terms of the payment

       schedule set forth below

                 4. Mr. Mangiapane may pay the Commission in any of the following

       manners:

                    a. Electronic payment—the SEC will provide detailed ACH

                       transfer/Fedwire instructions upon request;

                    b. Direct payment from a bank account via Pay.gov through the SEC

                       website at http://www.sec.gov/about/offices/ofm.htm; or

                    c. By certified check, bank cashier’s check, or United States postal

                       money order payable to the Securities and Exchange Commission,

                       which shall be delivered or mailed to

                              Enterprise Services Center
                              Accounts Receivable Branch
                              6500 South MacArthur Boulevard
                              Oklahoma City, OK 73169

                       and shall be accompanied by a letter identifying the case title, civil

                       action number, and name of this Court; Joseph Mangiapane, Jr. as
                       a defendant in this action; and specifying that payment is made

                       pursuant to this Final Judgment;

                 5. Mr. Mangiapane shall simultaneously transmit photocopies of evidence

       of payment and case identifying information to the Commission’s counsel in this

       action;

                 6. The Commission shall send the funds paid pursuant to this Final

       Judgment to the United States Treasury;




                                               3
Case 1:09-cv-00361-JFB-SRF Document 193 Filed 06/14/18 Page 4 of 4 PageID #: 4252




              7. Mr. Mangiapane shall pay the total of disgorgement and penalty due of

       $52,000 in five (5) installments to the Commission according to the following

       schedule: (1) $10,000 within 14 days of entry of this Final Judgment; (2) $10,500

       on or before July 1, 2018, (3) $10,500 on or before October 1, 2018, (4) $10,500

       on or before January 1, 2019, and (5) $10,500 on or before April 1, 2019.

       Payments shall be deemed made on the date they are received by the

       Commission and shall be applied first to post judgment interest, which accrues

       pursuant to 28 U.S.C. § 1961 on any unpaid amounts due after 14 days of the

       entry of Final Judgment. Prior to making the final payment set forth herein, Mr.

       Mangiapane shall contact the staff of the Commission for the amount due for the

       final payment;

              8. If Mr. Mangiapane fails to make any payment by the date agreed

       and/or in the amount agreed according to the schedule set forth above, all

       outstanding payments under this Final Judgment, including post-judgment

       interest, minus any payments made, shall become due and payable immediately

       at the discretion of the staff of the Commission without further application to the

       Court; and

              9. The Clerk of Court is directed to enter Final Judgment in favor of the
       SEC and against Mr. Mangiapane.



                                       ________________________________________
                                             Senior United States District Judge




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